Case 2:08-cr-00443 Documenti_ Filed on 06/17/08 in TXSD Page1lof4

° United States Courts
Southern District of Texas

JUN 1 7 2008

OAOS91 (Rev 8/01) Criminal Complaint

UNITED STATES DISTRICT COURT

Michael N. Milby, Clerk of Court
SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

Gary Lee Dominguez C-~O > . Y TY mn

I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about June 16,2008 in Nueces County, in

the Southern District of Texas defendant(s) did,

unlawfully possess a Ruger, model P90, .45 caliber pistol, serial number 66146458 loaded with a magazine
containing seven (7) .45 caliber rounds of ammunition with no round in the chamber affecting interstate
commerce. The defendant did also knowingly and intentionally possess with intent to manufacture, distribute,
or dispense, a controlled substance, in Schedule II of the Controlled Substance Act of 1970, to wit;
approximately 17.3 kilograms of powder cocaine.

in violation of Titles 18 & 21 United States Code, Section(s) ———_—-922(g)(1) & 841(a)(1)
I further state that I am a(n) Special Agent and that this complaint is based on the

following facts:

(See Attached Affidavit)

Continued on the attached sheet and made a part of this complaint. [xX] Yes [_] No

Signature of conifi ainant

Michael Cardenas
Printed Name of Complainant

Sworn to before me and signed in my presence,

June 17, 2008 at Corpys Christi, Texas

Date

B. Janice Ellington, U.S. Magistrate Judge
Name and Title of Judicial Officer

Case 2:08-cr-00443 Documenti_ Filed on 06/17/08 in TXSD Page 2of4

ATTACHMENT A

I, Michael Cardenas, being duly sworn, do hereby state that I am a Special Agent with the
Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), a Division of the United States
Justice Department, and have been so employed since March 4, 2007. Prior to employment with
the ATF, I was employed as a United States Border Patrol Agent for 8 months. I possess a
Bachelors of Science Degree in Criminal Justice with a Minor in Sociology from the University
of Texas Pan-American. I am a graduate from the Federal Law Enforcement Training Center
and the ATF National Academy. As a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives, I am vested with the authority to investigate violations of Federal laws,
including Titles 18 and 26, United States Code.

(a.) This affidavit is in support of a criminal complaint charging Gary Lee
Dominguez (hereinafter referred to as “Dominguez”), with the criminal
violation set forth in Attachment A. The evidence available to me
demonstrates that there is probable cause to believe that Dominguez has
violated Title 21 U.S.C. § 841(a)(1) and Title 18 U.S.C 922(g)(1) which

provide as follows:

It shall be unlawful for any person knowingly or intentionally to manufacture,
distribute, or dispense, or possess with intent to manutacture, distribute, or
dispense, a controlled substance.

and

It shall be unlawful for any person who has been convicted in any court of, a
crime punishable by imprisonment for a term exceeding one year to possess a
firearm.

Further, the Affiant states as follows:

1. Your affiant is familiar with the information contained in this affidavit, either through
personal investigation or through discussion with other law enforcement officers, who have
participated in and have contributed documentary reports of investigative efforts in this
matter.

2. On June 16, 2008, Sergeant Jeff Rickel, Texas Department of Public Safety Special Crimes,
contacted Special Agent Rick Miller, Bureau of Alcohol, Tobacco, Firearms, and Explosives,
regarding a State Search Warrant that was going to be executed at 4226 Valley Circle,
Corpus Christi, TX.

3. Sergeant Rickel informed Agent Miller that Gary Lee Dominguez had been placed under
arrest and after being mirandized stated that he was currently on parole and had a firearm in
the residence.
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Case 2:08-cr-00443 Documenti_ Filed on 06/17/08 in TXSD Page 3of4

Sergeant Rickel stated that Dominguez did not want to give consent to the searching of the
residence.

Agent Miller advised Sergeant Rickel that he and your affiant were in route to the above
stated location.

DPS Narcotics Sergeant Paul Quintanilla advised Dominguez of his Miranda Rights at which
time Dominguez waived his right and agreed to answer questions. Dominguez stated that
there were approximately eleven to twelve (11-12) kilos of suspected powder cocaine in the
safe that was located in the guest bedroom closet. Dominguez gave officers the combination
to safe but stated they needed to wait until they had a search warrant to open it.

Dominguez stated there was also a .45 caliber pistol inside the night stand located in the
master bedroom.

Dominguez stated he had approximately $40,000 in currency located inside the residence.

Once on scene Agent Miller and your affiant were taken to the black Lincoln Navigator,
bearing paper plates, and were shown two white grocery bags containing a large amount of
suspected powder cocaine.

Once the state search warrant was signed, Agent Miller and your affiant entered the residence
and assisted in the execution of the state search warrant.

A search of the residence yielded approximately eleven to twelve (11-12) “bricks” of
suspected powder cocaine that was located inside the safe in the guest bedroom closet.

Approximately two (2) “bricks” of suspected powder cocaine were located inside a kitchen
drawer.

A scale with a spoon containing suspected powder cocaine residue was located just above
the kitchen drawer inside the kitchen cabinet. A clear zip log bag was found next to the scale
containing a large amount of suspected powder cocaine. Another clear zip log bag was found
containing suspected powder cocaine in the same kitchen cabinet. A dietary supplement
bottle was also found containing a powdery substance that was believed to be powder
cocaine.

A Ruger, model P90, .45 caliber pistol, serial number 66146458 was located in the master
bedroom night stand inside a black soft gun case containing three magazines. The Ruger
firearm was determined to be loaded with a magazine containing seven (7) .45 caliber rounds
of ammunition with no round in the chamber. A total of twenty (20) .45 caliber rounds were
found loaded in the other magazines.

Two bags containing a large amount of currency were found in the master bedroom.

On June 17, 2008, your affiant consulted with ATF Special Agent Arnulfo Gutierrez, Corpus
Christi Field Office, who is trained in determining interstate nexus of firearms. Agent Gutierrez
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Case 2:08-cr-00443 Documenti - Filed on 06/17/08 in TXSD Page 4of4

researched the above-listed firearm and determined that this firearm was not manufactured in the
State of Texas and therefore affected interstate commerce when it arrived in the State of Texas.

According to the Nueces County District Clerks Office Dominguez was convicted of Possession
of Marijuana, a felony, in Nueces County, TX, in 1999, cause number 99003412-A, and
sentenced to two years state jail; Possession with Intent to Manufacture/Deliver a CS PG
1>=4G<200G, a first degree felony, in Nueces County, TX, in 1999, cause number 99003411-A,
and sentenced to ten years Texas Department of Corrections. Dominguez stated to Agent
Miller that he had been previously convicted of two felonies and served five years in the
Texas Department of Corrections.

On June 17, 2008, field tests were performed on the suspected powder cocaine. The tests
indicated presumptive positive results on cocaine.

On June 17, 2008, DPS lab results indicated the two white grocery bags located in the
Lincoln Navigator had an approximate weight of 817grams(g). The eleven to twelve (11-12)
“bricks” located in the safe had an approximate weight of 13,200g. The two (2) “bricks”
located in the kitchen drawer had an approximate weight of 2,270g. The clear zip log bag
located next to the scale in the kitchen cabinet had an approximate weight of 635g. The
second clear zip log bag located in the same kitchen cabinet had an approximate weight of
125 grams. The dietary supplement bottle contained an approximate weight of 246g.

The total approximate weight of the powder cocaine found at the residence was
approximately 17.3 kilograms.

Based on the above information, your affiant believes Gary Lee Dominguez knowingly,
intentionally, and unlawfully possessed with intent to distribute a controlled substance in
Schedule II, Title 21 United States Code, Section 841(a)(1), and unlawfully possessed a
firearm Title 18 U.S.C. Section 922(g)(1) on June 16", 2008, in Nueces County, Texas.

Further the Affiant sayeth naught.

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Michael Cardena§, ATF Special Agkat

Subscribed and sworn to before me this 17" day of

B.J “7 Ellington
UNIVED STATES MAGISTRATE JUDGE
